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                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

THERABIONIC, INC.,                         ]
                                           ]
      Plaintiff,                           ]
                                           ]
v.                                         ]   CIVIL ACTION NO.
                                           ]   2:18-CV-01498-KOB
FREDERICO PEREGO COSTA,                    ]
                                           ]
      Defendant.                           ]

                          MEMORANDUM OPINION

      Despite his express consent to this forum and his consent to the court’s

jurisdiction over him in a contract, Defendant Dr. Frederico Perego Costa asks the

court to dismiss this breach of contract case for forum non conveniens and lack of

personal jurisdiction. He also contends that Plaintiff TheraBionic, Inc. has failed

to state a claim upon which relief can be granted. (See Doc. 31).

      Dr. Costa, a Brazilian oncologist, will no doubt suffer inconvenience from

proceeding in this forum. But inconvenience alone does not support forum non

conveniens and he bargained for the inconvenience. No private or public

considerations outweigh Dr. Costa’s and TheraBionic’s choice of this forum or

compel the court to find that the parties must litigate this case elsewhere. Also, no

reason exists to release Dr. Costa from his contractual consent to this court’s

jurisdiction over him. And, rounding out Dr. Costa’s theories for dismissal,


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TheraBionic alleges a plausible breach of contract in this case. So the court will

deny Dr. Costa’s motion to dismiss.

I.    STANDARD OF REVIEW

      Given the breadth of Dr. Costa’s motion to dismiss, the court must analyze

his motion under three different standards of review: (1) forum non conveniens; (2)

Federal Rule of Civil Procedure 12(b)(2); and (3) Rule 12(b)(6).

      A.     Forum non conveniens

      The doctrine of forum non conveniens grants a district court the discretion to

dismiss a case, even when venue is proper, “when considerations of convenience,

fairness, and judicial economy so warrant.” Sinochem Int’l Co. v. Malaysia Int’l

Shipping Corp., 549 U.S. 422, 432 (2007). To obtain dismissal based on forum

non conveniens, the moving party must demonstrate that “(1) an adequate

alternative forum is available[;] (2) the public and private factors weigh in favor of

dismissal[;] and (3) the plaintiff can reinstate his suit in the alternative forum

without undue inconvenience or prejudice.” Leon v. Millon Air, Inc., 251 F.3d

1305, 1311 (11th Cir. 2001).

      The court reviews a motion to dismiss for forum non conveniens under the

same standard as a motion to dismiss for improper venue under Federal Rule of

Civil Procedure 12(b)(3). Micor Indus., Inc. v. Mazak Corp, 2018 WL 804303, at

*4 (N.D. Ala. Feb. 9, 2018). So, the court accepts the facts alleged in the


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complaint as true, “to the extent they are uncontroverted by defendants’ affidavits.”

Home Ins. Co. v. Thomas Indus., Inc., 896 F.2d 1352, 1355 (11th Cir. 1990). If the

parties dispute the facts, the court must “give greater weight to the plaintiff’s

version of the jurisdictional facts” and “construe such facts in the light most

favorable to the plaintiff.” Id.

      B.     Rule 12(b)(2)

      A Rule 12(b)(2) motion attacks the court’s jurisdiction over the defendant’s

person. The plaintiff initially bears the burden of making a prima facie showing in

his complaint of the court’s personal jurisdiction over the defendant. S & Davis

Intern., Inc. v. The Republic of Yemen, 218 F.3d 1292, 1303 (11th Cir. 2000)

(quotation omitted). And the court accepts the facts alleged in the complaint as

true. Id.

      If the defendant challenges personal jurisdiction with affidavit evidence,

“the burden traditionally shifts back to the plaintiff to produce evidence supporting

jurisdiction.” Meier ex rel. Meier v. Sun Int’l Hotels, Ltd., 288 F.3d 1264, 1269

(11th Cir. 2002). And if the “plaintiff’s complaint and supporting evidence

conflict with the defendant’s affidavits, the court must construe all reasonable

inferences in favor of the plaintiff.” Id.

      As the court discusses in detail below, because of a valid and reasonable

forum selection clause, the court does not need to review the sufficiency of the


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defendant’s contacts with Alabama to determine the existence of personal

jurisdiction.

      C.        Rule 12(b)(6)

      Under Rule 12(b)(6), a defendant can move to dismiss a complaint for

“failure to state a claim upon which relief can be granted.” The complaint will

survive the motion to dismiss if it alleges “enough facts to state a claim to relief

that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007).

      For a complaint to be “plausible on its face,” it must contain enough “factual

content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

And the court accepts as true the factual allegations in the complaint. Id.

      But not all allegations can defeat a motion to dismiss. “[L]abels and

conclusions” and speculation “will not do.” Twombly, 550 U.S. at 555. So, the

court will look only at well-pled facts, and if those facts, accepted as true, state a

plausible claim for relief, then the complaint will survive the motion to dismiss.

Iqbal, 556 U.S. at 678.

II.   BACKGROUND

      This case involves complex subject matter spanning several years and

countries. But TheraBionic’s many claims rest on a simple contention—that Dr.


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Costa breached his contract and exploited TheraBionic’s confidential information.

      From 2001 to 2007, Drs. Boris Pasche and Alexandre Barbault developed

devices that transmitted electromagnetic fields at specific frequencies to treat

cancer patients. In 2007, Drs. Pasche and Barbault founded TheraBionic to

commercialize their proprietary cancer treatment technology.

      Dr. Costa played a pivotal role in developing TheraBionic’s technology.

Specifically, beginning in 2005, with Drs. Pasche and Barbault’s consent, Dr.

Costa tested their OncoBionic P1 device on his patients in Brazil with advanced

hepatocellular carcinoma. The parties call Dr. Costa’s research the “Phase II

Study.”

      Dr. Costa conducted the Phase II Study in Brazil subject to a nondisclosure

agreement executed in 2003. The NDA provided that “Dr. Costa agreed not to

disclose any of Drs. Pasche and Barbault’s Confidential Information and agreed

that all documents and materials containing any Confidential Information shall

remain the property of Drs. Pasche and Barbault.” (Doc. 14 at ¶ 18). The parties

renewed the NDA in 2007 “to ensure the continued confidentiality of [Drs. Pasche

and Barbault’s] inventions.” (Id. at ¶ 21).

      In 2012, Dr. Costa asked TheraBionic, which was then located in

Birmingham, Alabama, if he could use the OncoBionic P1 devices that remained in

Brazil from the Phase II Study for further research. TheraBionic agreed and


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helped set up the devices for Dr. Costa in Brazil and instructed him on how to use

the devices with TheraBionic’s proprietary methods and procedures.

      As a prerequisite to Dr. Costa’s research beginning in 2012, the parties again

executed an NDA. TheraBionic’s claims in this case arise out of the 2012 NDA.

      The 2012 NDA states that TheraBionic’s confidential information provided

to Dr. Costa and any information Dr. Costa generated out of TheraBionic’s

information or materials will remain TheraBionic’s property. Specifically,

Paragraph 6 of the NDA states:

      Unless otherwise specified in writing, all documents and materials
      containing any Confidential Information shall remain the property of
      [TheraBionic]. Similarly, all information concerned with diagnostic
      and treatment response features directly or indirectly generated by
      [Dr. Costa] with the aid of information or materials furnished to [Dr.
      Costa] by [TheraBionic] shall be regarded as being Confidential
      Information of [TheraBionic] shall [sic] remain or shall be regarded as
      being the property of [TheraBionic]. . . .

(Doc. 14-2 at ¶ 6).

      Further, the 2012 NDA states that it “shall be governed by Alabama law.”

And it contains a forum selection clause that states, “[t]he parties agree to

jurisdiction and venue in state and federal courts located in Birmingham,

Alabama.” (Doc. 14-2 at ¶ 9).

      After conducting research subject to the 2012 NDA, on April 28, 2015, Dr.

Costa filed a U.S. patent application (the “377 Application”) titled “Hemodynamic

parameter monitoring system for diagnosis of a health condition of a patient,”

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naming himself as inventor. (Doc. 14 at ¶ 24). TheraBionic “paid for the

preparation and filing of the 377 Application which was drafted with the input and

collaboration of Dr. Pasche and Dr. Costa.” (Id. at ¶ 25). And the 377 Application

“was developed from information and data collected by Dr. Costa using the

TheraBionic P1 device and TheraBionic’s proprietary methods and procedures.”

(Id. at ¶ 26).

       TheraBionic then applied to the European Union to sell the commercial

version of its OncoBionic P1 device in Europe. The EU eventually approved the

P1 device for cancer treatment in Europe.

       TheraBionic also submitted a patent application to the World International

Property Organization under the Patent Cooperation Treaty to patent the

technology underlying Dr. Costa’s 2015 U.S. patent application.

       In December 2016, Dr. Costa abruptly demanded that TheraBionic cease

using information generated from Dr. Costa’s Phase II Study in its application to

the EU and demanded that TheraBionic remove itself from the WIPO patent

application. Dr. Costa notified the auditor responsible for the EU application that

he was “the sole owner of the Phase II Study” and that “TheraBionic had no right

to reference or rely on the Phase II Study in its European Regulatory Approval

Application.” (Doc. 14 at ¶ 32).

       Then, in October 2017, TheraBionic began prosecuting the U.S. patent


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application phase (the “312 Application”) of its WIPO patent application.

According to TheraBionic, “Dr. Costa has continued to interfere with

TheraBionic’s prosecution efforts and still demands that TheraBionic remove itself

from the 312 Application.” (Doc. 14 at ¶ 34). TheraBionic is still currently

prosecuting the 312 Application.

      In December 2017, Dr. Costa filed his own WIPO patent application (the

“825 Application”). TheraBionic alleges that the 825 Application requires (1) the

use of TheraBionic’s P1 devices; (2) cancer-specific frequencies discovered by

TheraBionic; and (3) “confidential and proprietary information of [TheraBionic]

developed by Dr. Pasche and Barbault, representing valuable trade secrets of

[TheraBionic].” (Doc. 14 at ¶ 38).

      Dr. Costa then founded his own cancer treatment technology company in the

U.S. called Autem. TheraBionic alleges that Autem exploits “the information [Dr.

Costa] obtained and the technology that was developed during his relationship with

TheraBionic.” (Doc. 14 at ¶ 39). TheraBionic also alleges that Autem developed a

“copycat device” of TheraBionic’s technology and is currently seeking FDA

approval of the device. (Id. at ¶¶ 40–41).

      From these facts, TheraBionic alleges generally that Dr. Costa “continues to

blatantly disregard his contractual obligations and exploit the confidential

information [he] received under the 2012 NDA.” (Doc. 14 at ¶ 43).


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      Specifically, TheraBionic brings seven counts in its amended complaint: (1)

breach of contract—the 2012 NDA; (2) misappropriation of trade secrets—

information generated by Dr. Costa with the aid of TheraBionic’s information and

materials that should be regarded as TheraBionic’s property; (3) violation of the

Defend Trade Secrets Act, 18 U.S.C. § 1836, et seq.; (4) injunctive relief—

requesting that the court order Dr. Costa to formally assign all interests in the 312

Application and the 377 Application to TheraBionic; (5) conversion—of

TheraBionic’s intellectual property; (6) replevin—demanding restoration of

TheraBionic’s sole intellectual property rights; and (7) specific performance under

Ala. Code § 35-4-33—demanding that Dr. Costa assign the rights to the 825

Application to TheraBionic pursuant to the 2012 NDA. (See Doc. 14 at 15–23).

      Dr. Costa moves to dismiss the amended complaint on three grounds: (1)

forum non conveniens, asserting that this case should be adjudicated in Brazil; (2)

the court’s lack of personal jurisdiction over Dr. Costa; and (3) TheraBionic’s

failure to state a claim upon which relief can be granted. (See Doc. 31).

      The court next addresses—and ultimately rejects—each of Dr. Costa’s

arguments for dismissal. In doing so, the court finds that (1) the interests of

convenience, fairness, and judicial economy do not warrant dismissal on forum non

conveniens grounds; (2) the court has personal jurisdiction over Dr. Costa because

of the 2012 NDA’s forum selection clause; and (3) TheraBionic has stated claims


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upon which relief can be granted.

III.   DISCUSSION

       A.    Forum non conveniens

       As the court mentioned above, a party who moves to dismiss a case on

forum non conveniens grounds must demonstrate that “(1) an adequate alternative

forum is available[;] (2) the public and private factors weigh in favor of

dismissal[;] and (3) the plaintiff can reinstate his suit in the alternative forum

without undue inconvenience or prejudice.” Leon, 251 F.3d at 1311.

       Here, for the following reasons, Dr. Costa has failed to establish the second

requirement to invoke forum non conveniens. Neither public nor private factors

weigh in favor of dismissal.

             1.     Private Factors

       Balancing the private interests of the parties requires “determining the

convenience of the parties [and] affording domestic plaintiffs a strong presumption

that their forum choice is sufficiently convenient . . . .” Leon, 251 F.3d at 1311

(quotation and citation omitted). Private interests for the court to consider include

“‘ease of access to sources of proof; availability of compulsory process for

attendance of unwilling, and the cost of obtaining attendance of willing, witnesses .

. . and all other practical problems that make trial of a case easy, expeditious and

inexpensive.’” Id. (quoting Gulf Oil Corp. v. Gilbert, 330 U.S. 501, 508 (1947)).


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      The Eleventh Circuit considers access to evidence “[p]erhaps the most

important ‘private interest’ of the litigants.” Ford v. Brown, 319 F.3d 1302, 1308

(11th Cir. 2003). So, “[a] correct ‘private interest’ analysis begins with the

elements of the plaintiff’s causes of action. The court must then consider the

necessary evidence required to prove and disprove each element. Lastly, the court

should make a reasoned assessment as to the likely location of such proof.” Id.

      And a “strong presumption” exists “that the plaintiff has chosen a

sufficiently convenient forum.” Leon, 251 F.3d at 1314. So defendants raising

forum non conveniens “are required to prove ‘vexation’ and ‘oppressiveness’ that

are ‘out of all proportion’ to the plaintiff’s convenience.” Id. at 1314–15 (quoting

Piper Aircraft Co. v. Reyno, 454 U.S. 235, 241 (1981)).

      Here, the private interests do not weigh in favor of dismissal. By the express

terms of the 2012 NDA, both parties selected this forum as the location to

adjudicate any claims arising out of the 2012 NDA. (Doc. 14-2 at ¶ 9). The

parties reached that agreement while TheraBionic was a resident of Alabama.

(Doc. 14 at ¶ 22). And the parties agreed that Alabama law would govern the 2012

NDA. (Doc. 14-2 at ¶ 9). So, the court affords TheraBionic “a strong

presumption that [its] forum choice is sufficiently convenient,” and respects Dr.

Costa’s own choice of this forum. See Leon, 251 F.3d at 1311.

      Dr. Costa “does not recall singing [the 2012 NDA] and did not find a signed


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copy of it after reviewing all [his] electronic and hard copy records.” (Doc. 31-1 at

¶ 2). But he does not deny that he signed it and does not dispute that a copy of the

original document bears his signature. So, Dr. Costa’s lapse in memory and failure

to find his copy of the document aside, the court finds that Dr. Costa signed the

2012 NDA and expressly consented to this forum.

      In addition, most of the evidence required to prove and disprove

TheraBionic’s claims will likely be located in the United States, not Brazil.

Because of the choice of law provision in the contract, an interpretation of the 2012

NDA under Alabama law will govern TheraBionic’s intellectual property rights.

And, central to all of its claims, TheraBionic alleges that Dr. Costa

misappropriated TheraBionic’s confidential information in the United States with

his competing U.S. company, pending U.S. patent applications, and efforts to

secure FDA approval for an alleged “copycat device.” In fact, TheraBionic does

not allege any ongoing conduct with Dr. Costa in Brazil or that TheraBionic

suffered any harm in Brazil. Further, the parties themselves possess the

communications between them, the information and equipment TheraBionic

provided to Dr. Costa, and any products that they generated from TheraBionic’s

equipment, so the parties will not need to conduct third-party discovery for these

crucial materials.

      On the other hand, some necessary evidence may also be located in Brazil.


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TheraBionic contends that Dr. Costa generated some or all of the information that

he is using in the United States from his research in Brazil. So the court anticipates

that evidence and witnesses concerning what Dr. Costa developed in Brazil and

how he developed it may be necessary and may be located in Brazil.

        But Dr. Costa has not demonstrated that he cannot obtain discovery from

Brazil without oppressive inconvenience while litigating in Alabama. Dr. Costa

submitted an affidavit from Dr. Rafael Villar Gagliardi, an expert in Brazilian civil

law, stating that “foreign litigants litigating abroad have the right to compel

Brazilian authorities to hear the testimony of witnesses who live in Brazil.” (Doc.

41-1 at 12). Dr. Gagliardi also states that obtaining discovery from abroad would

require a U.S. court to request a hearing from the Brazilian Superior Court of

Justice, “which would, in sequence, order a judge to proceed with the hearing,”

which “is typically slow and expensive” and “requires the engagement of Brazil

counsel.” (Id.) But, without more detail, Dr. Costa only establishes the

unremarkable proposition that coordinating discovery with a foreign country is

costly and inconvenient. He has not demonstrated, as his burden requires,

“‘vexation’ and ‘oppressiveness’ that are ‘out of all proportion’ to [TheraBionic’s]

convenience.” Leon, 251 F.3d at 1314–15 (quoting Piper Aircraft, 454 U.S. at

241).

        Further, Dr. Costa has not demonstrated that any potential witnesses in


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Brazil are unwilling to participate in this case. And TheraBionic alleges—and Dr.

Costa admits—that some of Dr. Costa’s colleagues in Brazil signed an NDA with

TheraBionic containing the same forum selection clause as the 2012 NDA with Dr.

Costa. Those witnesses could have foreseen engaging with this forum and thus

may be more likely to cooperate with discovery efforts. (See Doc. 14 at ¶ 23; Doc.

31-1 at ¶ 30).

      Dr. Costa’s inconvenience in litigating away from his home country and the

existence of some evidence in Brazil does not outweigh the more substantial

private factors that do not favor dismissal. Both parties agreed to this forum while

TheraBionic resided in Alabama; the interpretation and alleged breach of an

Alabama contract are the critical issues in this case; each claim in this case relates

to Dr. Costa’s conduct in the United States; the most necessary evidence will likely

be located in the United States or will be in the parties’ possession; and

TheraBionic alleges harm only in the United States. So the court finds that the

private factors do not favor dismissal.

             2.     Public Factors

      Though “the private factors are generally considered more important,” the

court must also weigh the competing public interests in this case. Leon, 251 F.3d

at 1311 (quotation omitted). “Relevant public interest factors include the

sovereigns’ interests in deciding the dispute, the administrative burdens posed by


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trial, and the need to apply foreign law.” Satz v. McDonnell Douglas Corp., 244

F.3d 1279, 1284 (11th Cir. 2001) (quotation omitted). And when considering

public interest factors, the court must consider the state’s interest and the federal

interest. SME Racks, Inc. v. Sistemas Mecanicos Para Electronica, S.A., 382 F.3d

1097, 1104 (11th Cir. 2004).

      Here, Alabama has an interest in enforcing contracts governed under its law

and entered into by its residents. And the United States has a “strong federal

interest in making sure that . . . United States citizens generally get to choose an

American forum for bringing suit, rather than having their case relegated to a

foreign jurisdiction.” SME Racks, 382 F.3d at 1104 (quotation omitted). Further,

TheraBionic alleges that Dr. Costa is exploiting its intellectual property and

confidential information in seeking U.S. patent protection and FDA approval—the

United States has an interest in these two legal processes.

      Of course, Brazil also has a public interest in intellectual property that one of

its citizens helped develop though research on Brazilian patients on Brazilian soil.

But Dr. Costa does not persuade the court that Brazil has a stronger public interest

than Alabama or the United States in enforcing an Alabama contract entered into

by an Alabama citizen, pursuant to which both parties selected an Alabama forum,

when all of the alleged breaching conduct occurred in the United States. So the

court finds that public interest factors do not weigh in favor of dismissal.


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      Because Dr. Costa has not met his burden to show that the public and private

factors weigh in favor of dismissal, the court will deny his motion to dismiss for

forum non conveniens.

      B.     Personal Jurisdiction

      Next, Dr. Costa moves to dismiss this case because he contends that this

court lacks personal jurisdiction over him. For the following reasons, the court

disagrees.

      Typically, when a non-resident defendant moves the court to dismiss a case

for lack of personal jurisdiction under Federal Rule of Civil Procedure 12(b)(2),

the court would examine whether the defendant has “certain minimum contacts

with [Alabama] such that the maintenance of the suit does not offend traditional

notions of fair play and substantial justice” under the Due Process Clause. Int’l

Shoe Co. v. State of Wash., Office of Unemployment Comp. & Placement, 326 U.S.

310, 316 (1945) (quotation omitted). But, as in this case, when the non-resident

defendant “contractually agreed to personal jurisdiction in [the forum state], the

usual due process analysis need not be done.” Alexander Proudfoot Co. World

Headquarters v. Thayer, 877 F.2d 912, 921 (11th Cir. 1989) (citing Burger King

Corp. v. Rudzewicz, 471 U.S. 462, 472, 473 n.14 (1985)).

      But a forum selection clause does not automatically end the due process

inquiry. The court will not honor a forum selection clause if it is “unreasonable or


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unjust” or “if the chosen forum is seriously inconvenient for the trial of the action.”

Proudfoot, 877 F.2d at 921; M/S Bremen v. Zapata Off-Shore Co., 407 U.S. 1, 16

(1972). And to escape the forum selected in the contract on the grounds of

inconvenience, the moving party must show that “trial in the contractual forum will

be so gravely difficult and inconvenient that he will for all practical purposes be

deprived of his day in court.” Zapata, 407 U.S. at 18.

      In his motion to dismiss, Dr. Costa almost concedes the power of the forum

selection clause. (See Doc. 31 at 16–17) (“In situations where the parties allegedly

agree to jurisdiction, it is usually not necessary for the Court to perform [the

minimum contacts] analysis”; “At the motion to dismiss stage of the proceedings,

the [forum selection clause] would typically obviate the need for the court to

perform a personal jurisdiction analysis.”). But he urges the court to override his

express consent to the court’s personal jurisdiction based on “serious

inconvenience” to him. (Id. at 17).

      Dr. Costa contends that the private factors on which he relied for his forum

non conveniens argument establish “serious inconvenience” sufficient to override

the freely-negotiated and reasonable forum selection clause. (See Doc. 31 at 17–

18). Again, these factors are that he lives and works in Brazil; that he allegedly

used TheraBionic’s information in research in Brazilian hospitals with Brazilian

patients and colleagues; and that evidence and witnesses related to his research are


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in Brazil. In addition, he adds that he has never lived in Alabama, has no assets in

Alabama, and only visited Alabama once. (Id. at 17). These factors show that Dr.

Costa will indeed suffer inconvenience by litigating in Alabama.

      But Dr. Costa bears a much heavier burden to escape his contract. Where, as

here, “it can be said with reasonable assurance that at the time they entered the

contract, the parties to a freely negotiated private international commercial

agreement contemplated the claimed inconvenience, it is difficult to see why any

such claim of inconvenience should be heard to render the forum clause

unenforceable.” Zapata, 407 U.S. at 16. Dr. Costa has not shown inconvenience

so difficult “that he will for all practical purposes be deprived of his day in court.”

Id. at 18. The inconveniences he identifies—opportunity costs, travel time and

costs, and coordinating discovery with a foreign country—would likely exist in

any litigation between foreign parties and were “clearly foreseeable at the time of

contracting.” Id. at 17–18. Dr. Costa freely negotiated these inconveniences in

exchange for TheraBionic’s confidential information, and he provides no

compelling reasons for why the court should not hold him to his bargain.

      The court will enforce the forum selection clause in the 2012 NDA in which

Dr. Costa expressly consented to this court’s exercise of personal jurisdiction over

him. So the court will deny Dr. Costa’s motion to dismiss for lack of personal

jurisdiction.


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      C.     Rule 12(b)(6)

      Finally, Dr. Costa moves to dismiss the amended complaint for failure to

state a claim upon which relief can be granted under Federal Rule of Civil

Procedure 12(b)(6). The court will reject his final argument for dismissal.

      Dr. Costa first argues that the amended complaint fails to state a plausible

claim for relief because it relies on a 2003 NDA to which TheraBionic is not a

party. (See Doc. 31 at 18–19). But the 2003 NDA is not at issue in this case.

TheraBionic premises each of its claims on the 2012 NDA.

      Next, Dr. Costa contends that TheraBionic has failed to plead the

satisfaction of a condition precedent to the 2012 NDA. (See Doc. 31 at 19–20).

According to Dr. Costa, under Paragraph 1 of the agreement, the 2012 NDA

applies only to information “clearly designated, labelled, or marked in a

conspicuous place as confidential,” and TheraBionic has not alleged that it ever

marked information as confidential. (Doc. 14-2 at ¶ 1).

      But, under the 2012 NDA, confidential information is not exclusively

information “designated, labelled, or marked in a conspicuous place as

confidential.” Rather, “all information . . . generated by [Dr. Costa] with the aid of

information or materials furnished to [Dr. Costa] by [TheraBionic] shall be

regarded as being Confidential Information . . . .” (Doc. 14-2 at ¶ 6). So

TheraBionic did not have to allege that it labeled information as confidential to


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state a plausible breach of the NDA based on the alleged exploitation of

confidential information.

      Finally, Dr. Costa contends that the NDA only protects information that

TheraBionic “disclosed” and “designated” as confidential. (See Doc. 31 at 21–23).

Because TheraBionic has not alleged that it disclosed information designated as

confidential, Dr. Costa contends that TheraBionic has failed to state a plausible

breach of the NDA.

      But Dr. Costa again misinterprets the NDA. The NDA considers any

information generated by Dr. Costa from TheraBionic’s information provided to

him for testing to be confidential information—it did not necessarily have to be

information “disclosed” and “designated” as confidential. (See Doc. 14-2 at ¶¶ 1,

6). TheraBionic alleges that Dr. Costa used information it generated with

TheraBionic’s technology in his patent applications and thus plausibly states that

Dr. Costa breached the NDA. So the court will deny Dr. Costa’s Rule 12(b)(6)

motion.

IV.   CONCLUSION

      By separate order, the court will DENY Dr. Costa’s motion to dismiss.

      DONE and ORDERED this 16th day of April, 2019.


                                       ____________________________________
                                       KARON OWEN BOWDRE
                                       CHIEF UNITED STATES DISTRICT JUDGE

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